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United States vs Shaun W Bridges
CASE #15-10590


PRO SE MOTION FOR APPOINTMENT OF COUNSEL


I Shaun Bridges, respectfully request that the Honorable Court appoint CJA counsel on my
behalf regarding the above listed case number I am indigent and unemployed, and furthermore
begin a period of incarceration beginning in January 2016 I do not have the financial resources
to obtain my own counsel

Thank you in advance for your assistance with this matter




Shaun Bridges
8411 Lillian Lane
Laurel, MD. 20723
443-983-5765
